Information to identify the case:

                       Richard Monroe                                                          Social Security number or ITIN:      xxx−xx−6451
Debtor 1:
                                                                                               EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                      Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                 EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Northern District of Ohio                                      Date case filed for chapter:            13      1/26/24

Case number:          24−30137−jpg
Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                          10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                        About Debtor 2:
1. Debtor's full name                              Richard Monroe

2. All other names used in the
   last 8 years
                                                   aka Burt Monroe

                                                   10318 Blue Ridge Dr. S.
3. Address                                         Whitehouse, OH 43571
                                                   Edward L. Snyder                                                       Contact phone (419) 867−8090
4. Debtor's  attorney
   Name and address
                                                   6545 West Central Avenue
                                                   Suite 203                                                              Email: edsnyderlaw@totalink.net
                                                   Toledo, OH 43617

5. Bankruptcy trustee                              Elizabeth A. Vaughan                                                  Contact phone 419−255−0675
     Name and address                              Office of the Chapter 13 Trustee
                                                   316 N. Michigan Street #501                                           Email: 13ECFNotices@chapter13toledo.com
                                                   Toledo, OH 43604

6. Bankruptcy clerk's office                                                                                              Hours open:
     Documents in this case may be filed                                                                                  9:00 AM − 4:00 PM
     at this address.                              United States Bankruptcy Court
     You may inspect all records filed in          405 Madison Ave Room 604                                               Contact phone 419−213−5600
     this case at this office or online at         Toledo, OH 43604
      https://pacer.uscourts.gov
     www.ohnb.uscourts.gov                                                                                                Date: 1/31/24

                                                                                                                                  For more information, see page 2




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Debtor Richard Monroe                                                                                                                  Case number 24−30137−jpg

7. Meeting of creditors                   March 21, 2024 at 09:00 AM
   Debtors must attend the meeting                                                                              Location:
   to be questioned under oath. In a      The meeting may be continued or adjourned to a later
   joint case, both spouses must          date. If so, the date will be on the court docket.
   attend.                                                                                     Zoom video meeting. Go to
   Creditors may attend, but are not                                                           Zoom.us/join, Enter Meeting ID: 355
   required to do so.                     *** Valid photo identification required ***          393 3101, and Passcode: 0585749407,
                                          *** Proof of Social Security Number required ***     OR call 1−567−772−4752

                                                                                                                For additional meeting information, go to
                                                                                                                https://www.justice.gov/ust/moc.
8. Deadlines                                Deadline to file a complaint to challenge                                 Filing deadline: 5/20/24
   The bankruptcy clerk's office must       dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following     You must file:
   deadlines.                               • a motion if you assert that the debtors are not entitled to receive a discharge
                                              under U.S.C. § 1328(f), or

                                            • a complaint if you want to have a particular debt excepted from discharge
                                              under 11 U.S.C. § 523(a)(2) or (4).
                                            Deadline for all creditors to file a proof of claim                       Filing deadline: 4/5/24
                                            (except governmental units):
                                            Deadline for governmental units to file a proof of                        Filing deadline: 7/24/24
                                            claim:
                                                                                                                      Filing Deadline: 7 days before the
                                            Deadline to File an Objection to Confirmation:
                                                                                                                      confirmation hearing date.



                                            Deadlines for filing proof of claim:
                                             A proof of claim is a signed statement describing a creditor's claim. Effective February 1, 2019, the Electronic
                                            Proof of Claim (ePOC) filing program is available on the court's website for all users to file a Proof of Claim,
                                            Amended Proof of Claim, Withdrawal of Claim, and Supplement to a Claim. A login/password is not required to
                                            use ePOC. Parties not represented by an attorney and registered CM/ECF filers may use this service. Access
                                            and instructions for ePOC filing are available in the ECF and Case Info section of the court website at
                                             www.ohnb.uscourts.gov. Parties who would like to file a Proof of Claim manually may obtain a Proof of Claim
                                            form (Official Form B410) from the Forms page of the United States Court's website at www.uscourts.gov, or at
                                            any bankruptcy clerk's office.
                                            If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                            proof of claim even if your claim is listed in the schedules that the debtor filed.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                            claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                            example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                            right to a jury trial.


                                            Deadline to object to exemptions:                                         Filing deadline:       30 days after the
                                            The law permits debtors to keep certain property as exempt. If you                               conclusion of the
                                            believe that the law does not authorize an exemption claimed, you                                meeting of creditors
                                            may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           4/16/24 at 09:30 AM , Location: US Bankruptcy Court, 405 Madison Ave, Courtroom #2, Rm 621, Toledo,
                                           OH 43604
10. Creditors with a foreign                If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                 extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                            questions about your rights in this case.
11. Filing a chapter 13                     Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                         according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                            plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                            the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                            debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                            court orders otherwise.
12. Exempt property                         The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                            to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                            You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe
                                            that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                      Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                            However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                            are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                            as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                            523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                            you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                            must file a motion by the deadline.




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